Case 5:24-cv-01044-GTS-MJK Document 1 Filed 08/26/24 Page 1 of 6

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

| aaa ff , & ) ,
= G te laintiff(s) ) Civil Case No.: 6 lt “cV- lof
e Mt ( GTS/M3K)
VS. ) CIVIL
) RIGHTS
) COMPLAINT
Jy racone Cy Solet Serhan) ) PURSUANT TO

42 U.S.C. § 1983

Plaintiff(s) demand(s) a trial by: JURY [_] COURT (Sflechoniy Ong; 1.0. OF N.Y.
Plaintiff(s) in the above-captioned action, allege(s) as follows: AUG 26 2024
AT O'CLOCK
——— John M. Domurad, Clerk - Syracuse
1. This is a civil action seeking relief and/or damages to defend and protect the rights

guaranteed by the Constitution of the United States. This action is brought pursuant to 42
U.S.C. § 1983. The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,
1343(3) and (4) and 2201.

PARTIES
i.
2. Plaintiff, _YVonne Contin F

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Additional Plaintiffs may be added on a separate sheet of paper.
3. a. Defendant: SS 4 riowro (' ite, Sahel Nistret
Official Position:
Address: Ws Heerisun Sf.
Sy ocusse NU, 13005

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b. Defendant:

Official Position:

Address:

Cc. Defendant:

Official Position:

Address:

Additional Defendants may be added on a separate sheet of paper.

4. FACTS

Set forth the facts of your case which substantiate your claim of violation of your civil
and/or Constitutional rights. List the events in the order they happened, naming defendants
involved, dates and places.

Note: You must include allegations of wrongful conduct as to EACH and EVERY
defendant in your complaint. (You may use additional sheets as necessary).

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a Pre by C.

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5. CAUSES OF ACTION

Note: You must clearly state each cause of action you assert in this lawsuit.

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_ SECOND CAUSE OF ACTION
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6. PRAYER FOR RELIEF

WHEREFORE, plaintiff(s) request(s) that this Court grant the following relief:

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I declafe under penalty of perjury that the foregoing is true and correct.

DATED: y{ty Ll, 2024 SOfe e Gf Z
Signature of Plaintiff(s)

(all Plaintiffs must sign)

02/2010
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AFFIDAVIT OF SERVICE BY MAIL

State of New York

County of Oyen ®

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plaintiff nchad and served a copy of the following document(s):
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at:

on the following date:

I declare under penalty of perjury that the foregoing is true and correct.

DATED:

Signature of Plaintiff

Sworn to before me this day of

Notary Public

FORM J (1)
